Case 2:05-cr-20145-SH|\/| Document 26 Filed 06/24/05 Page 1 of 2 Page|D 30

UNITED sTATEs DISTRICT coURT ;:-;t_i;;; %i\s_ D_C,
WESTERN DISTRICT oF TENNESSEE
Western Division 95 JUH ZL+ AH 8, 27
UNITED sTATEs oF AMERICA . W;_§.’ `iii: r'N§ interviews
-vs- Case No. 2:05cr20145-1Ma
ANTOINETTE GRANADA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is set for FRIDAY,
JUNE 24, 2005 at i':"'%t£-SA..M before United States Magistrate Judge Tu M. Pham in Courtroom
No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main, Mernphis,
TN. Pending this hearing, the defendant shall be held in custody by the United States Marshal and
produced for the hearing.

Date; June 23, 2005 §"/;;M,p %-_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142($(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the

defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (5185) Order of Ten'porary Detention

Hance
Thls document entered on the docks site/eti comp
with Flule 55 and!or 32(b) FRCrP on tag A£jz_j_ ; 2 5 9

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20145 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

